Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 1 of 7




                                 UNITED STA TES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA


                          CASE NO. 20-cr-80074-Ruiz/Reinhart
                                  - 18
                                     - U.S.C.
                                        - - -§§-lll(a)(l)
                                                  - - -and --(b)
                                                                -



   UNITED STATES OF AMERICA,
                                                                                    SP
   v.
                                                                        Oct 26, 2020
   HANNAH ROEMHILD,
                                                                                      West Palm Beach
                    Defendant.
   - - - - - - - - - - - - -I

                                           INFORMA TJON

          The United States Attorney charges that:

                                            COUNT ONE
                          Assaulting a Federal Officer with a Deadly Weapon
                                    (18 U.S.C. §§ 11 l(a)(l) and (b))

          On or about January 31, 2020, in Palm Beach County, in the Southern District of Florida ,

   the defendant,

                                       HANNAH ROEMHILD,

   did forcibly assault, resist, oppose, impede, intimidate, and interfere with "J.B. ," an officer and

   employee of the United States and of an agency in a branch of the United States Government

   designated in Title 18, United States Code, Section 1114, that is, the Department of Homeland

   Security, United States Secret Service, while "J.B.," was engaged in, and on account of the
Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 2 of 7




   performance of his official duties, and in the commission of the offense, did use a deadly and

   dangerous weapon, that is, an automobile.

          In violation of Title 18, United States Code, Sections 1ll(a)(l) and (b).

                                            COUNT TWO
                          Assaulting a Federal Officer with a Deadly Weapon
                                    (18 U.S.C. §§ 11 l(a)(l) and (b))

          On or about January 31, 2020, in Palm Beach County, in the Southern District of Florida,

   the defendant,

                                      HANNAH ROEMHILD,

   did forcibly assauh, resist, oppose, impede, intimidate, and interfere with "R.A.," an officer and

   employee of the United States and of an agency in a branch of the United States Government

   designated in Title 18, United States Code, Section 1114, that is, the Department of Homeland

   Security, United States Secret Service, while "R.A.," was engaged in, and on account of the

   performance of his official duties, and in the commission of the offense, did use a deadly and

   dangerous weapon, that is, an automobile.

          In violation of Title 18, United States Code, Sections 11 l(a)(l) and (b).

                                          COUNT THREE
                          Assaulting a Federal Officer with a Deadly Weapon
                                    (18 U.S.C. §§ 1ll(a)(l) and (b))

          On or about January 31, 2020, in Palm Beach County, in the Southern District of Florida,

   the defendant,

                                      HANNAH ROEMHILD,

   did forcibly assault, resist, oppose, impede, intimidate, and interfere with "R.R.," an officer and

   employee of the United States and of an agency in a branch of the United States Government

   designated in Title 18, United States Code, Section 1114, that is, the Department of Homeland


                                                    2
Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 3 of 7




   Security, United States Secret Service, while "R.R.," was engaged in, and on account of the

   performance of his official duties, and in the commission of the offense, did use a deadly and

   dangerous weapon, that is, an automobile.

          In violation of Title 18, United States Code, Sections 11 l(a)(l) and (b).




   ARIANAFAJARDOORSHAN \.
   UNITED STA TES ATTORNEY




   ROLANDO GARCIA
   ASSISTANT UNITED STA TES ATTORNEY




                                                    3
Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 4 of 7
                                               UNITED ST ATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                CASE NO.         20-cr-80074-Ruiz/Reinhart
vs.
                                                          CERTIFICATE OF TRIAL ATTORNEY*
HANNAH ROEMHILD,
            Defendant.
                                                          Superseding Case Information:


Court Division : (Select One)                            New Defendant(s)                     Yes
                                                         Number of New Defendants
           Miami        Ke_y West                        Total number of counts
           F1L   ----X- WPB                   FTP

            I do hereby certify that:
            1.          I ha~ carefully considered the allegations of the indictment, the number of defendants , the number
                        of probable witnesses and the legar complexities of the Indictment/Information attached hereto.
            2.          I am aware that the information supplied on this statement will be relied upon by the Judges of this
                        Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                        Act , litle 28 U.S.C. Section 3161.

            3.           Interpreter:    (Yes or No)       No
                         List ranguage and/or dialect

            4.          This case will take       5      days for the parties to try .
            5.           Please check appropriate category and type of offense listed below:

                        (Check only one)                                   (Check only one)


            I           O to 5 days                      _x_                           Petty
            II          6 to 10 days                                                   Minor
            111         11 to 20 days                                                  Misdem .
            IV          21 to 60 days                                                  Felony         X
            V           61 days and o~r

            6.      Has this case been previously filed in this District Court? (Yes or No) No
            If yes:
            Judge: - - - - - - - - - - - - - -                        Case No._ _ _ _ _ _ _ _ _ _ _ _ __
            (Attach copy of dispositi~ order)
            Has a complaint been filed in this matter?        (Yes or No)       No
            If yes:
            Magistrate Case No.
            Related Miscellaneous numbers :
            Defendant(s) in federal custody as of
            Defendant(s) in state custody as of
            Rule 20 from the                         01stnct of

            Is this a potential death penalty case? (Yes or No)

            7.           Does this case originate from a matter pending in the Northern Region of the U.S . Attorney 's Office
                         prior to October 14, 2003? _ _Yes _X_ No

            8.           Does this case originate from a matter pending in the Central Region of the U.S . Attorney's Office
                         prior to September 1, 2007? _ _Yes _X_ No




                                                                  ROLANDO ARCIA
                                                                  ASSISTANTUNllED STATES ATTORNEY
                                                                  Florida Bar No. 763012


"Penalty Sheet(s) attached
Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 5 of 7




                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

   Defendant's Name: HANNAH ROEMHILD

   Case No:
              20-cr-80074-Ruiz/Reinhart
              -----------------------
   Counts #: 1-3

   Assaulting a Federal Officer with a Deadly Weapon

   Title 18, United States Code, Section 1ll(a)(l) and (b)

   *Max. Penalty: up to 20 Years' Imprisonment; $250,000 Fine; 3 Years' Supervised Release,
   and a mandatory $100 special assessment.

   Count#:




   * Max. Penalty:

   Count#:




   *Max. Penalty:

   Count#:




   *Max. Penalty:




    *Refers only to possible term of incarceration, does not include possible fines, restitution,
            special assessments, parole terms, or forfeitures that may be applicable.
   Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 6 of 7




                                UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                               CASE NUMBER: 20-cr-80074-Ruiz/Reinhart
                                                   ----------
                                         BOND RECOMMENDATION



DEFENDANT: HANNAH ROEMHILD

                 $250,000 Personal Surety Bond
                 (Personal Surety) (Corporate Surety) (Cash) (Pre-Trial Detention)




                                                     By:
                                                             AUSA:     Rolando Garcia




Last Known Address: 31 Kirtland Street

                        Deep River, Connecticut




What Facility:




Agent(s):               SIA Scott Wilson, FBI
                        (FBI) (SECRET SERVICE)          (DEA)    (IRS) (ICE) (OTHER)
   Case 9:20-cr-80074-RAR Document 1 Entered on FLSD Docket 10/26/2020 Page 7 of 7


AO 455 (Rev. 0 1/09) Wai ver of an Indictment


                                        UNITED STATES DISTRICT COURT
                                                             for the
                                                  Southern District of Florida

                   United States of America                    )
                                   V.                          )       Case No.   20-cr-80074-Ruiz/Reinhart
                       Hannah Roemhild,                        )
                                                               )
                              Defendant                        )

                                                WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

        After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:   --------
                                                                                           Defendant 's signature




                                                                                     Signature of defendant 's attorney


                                                                                           David Roth, Es .
                                                                                    Printed name of defendant's attorney




                                                                                             Judge's signature


                                                                          Hon U.S. Magistrate Judge, Dave Lee Brannon
                                                                                       Judge's printed name and title
